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       Case 4:11-cr-00151-A Document 97 Filed 06/27/18          Page 1 of 3 PageID 492


                           IN THE UNITED STATES DISTRICT COURT
ORIGINAL                   FOR THE NORTHERN DISTRICT OF TE~ 18 JU['! 27 Pi1 I: 57
                                   FORT WORTH DIVISION
                                                                         CLEf~i\   o::· COURT
  UNITED STATES OF AMERICA
                                                                              \,J\lC-
  v.                                                       No. 4:11-CR-151-A-1

  CRYSTAL LA VON MASON-HOBBS (01)

                             GOVERNMENT'S MOTION TO REVOKE
                               TERM OF SUPERVISED RELEASE

          Pursuant to 18 U.S.C. § 3583(e)(3) and FED. R. CRIM. P. 32.1, the government

  files this motion to revoke the term of supervised release of defendant Crystal La Von

  Mason-Hobbs.

                              PROCEDURAL HISTORY OF THE CASE

           On March 16, 2012, in the Fort Worth Division of the Northern District of Texas,

  defendant Crystal La Von Mason-Hobbs was convicted of conspiracy to defraud the

  United States, in violation of 18 U.S.C. § 371. She was sentenced to 60 months' custody

   followed by a three-year term of supervised release. Defendant's supervised release

  commenced on August 5, 2016.

                               CONDITIONS OF SUPERVISED RELEASE

       1. The Court entered certain terms and conditions for the period of supervised

   release, including the following mandatory, standard and additional conditions the

   government alleges the defendant violated:

                   a.      Mandatory Condition No. 1: The defendant shall not commit another
                           federal, state, or local crime.


   Government's Motion to Revoke
   Term of Snpe..Vised Release - Page 1
   Case 4:11-cr-00151-A Document 97 Filed 06/27/18              Page 2 of 3 PageID 493


               b.      Mandatory Condition No. 8: If, upon commencement of supervised
                       release, any part of the $4,206,805.49 restitution ordered by this
                       judgment remains unpaid, the defendant shall make payments on
                       such unpaid amount at the rate of at least $500 per month, the first
                       such payment to be made no later than 60 days from the date the
                       sentence is imposed and another payment to be made on the same
                       day of each month thereafter ]Jntil the restitution amount is paid in
                       full. Any unpaid balance of the restitution ordered by this judgment
                       shall be paid in full60 days prior to the termination of the term of
                       supervised release.

                               VIOLATIONS OF CONDITIONS

   2. The government alleges that, while subject to the terms and conditions of

       supervised release, Aguilera violated each of the conditions outlined in paragraph

       one of this motion in the manner set forth below:

               a.       Violation of Mandatory Condition No.1: Mason-Hobbs violated this
                        condition of supervised release on November 8, 2016, when she
                        voted in the 2016 General Election, in violation of64.012(B) of the
                        Election Code. Mason-Hobbs was arrested on February 16, 2017 by
                        the Tarrant County Sheriff's Office deputies and Tarrant County
                        District Attorney Investigator Darla Dowell. On March 28, 2018,
                        Mason-Hobbs was convicted in the 432nd District Court of Tarrant
                        County, Texas in Case No. 1485710D of Illegal Voting, a Second
                        degree felony.

                b.       Violation of Mandatory Condition No. 8: Mason-Hobbs violated
                        this condition of supervised release by failing to pay restitution as
                        specified in her Judgment. A review of the Offender Payment
                        Enhanced Report Access (OPERA) system revealed that from the
                        date of her release until March 20 17, no payments had been made
                        toward restitution. Mason-Hobbs began making monthly payment
                        of approximately $50 per month in April2017. To date Mason-
                        Hobbs and others, who were jointly and severally liable for the loss,
                        have made a total of$4,965.80 in restitution payments.




Government's Motion to Revoke
Term of Supervised Release - Page 2
   Case 4:11-cr-00151-A Document 97 Filed 06/27/18             Page 3 of 3 PageID 494



                                      CONCLUSION

       The government requests that this Court set this motion for a hearing, and upon

hearing, order that defendant Mason-Hobbs' term of supervised release be revoked and

that she be required to serve her sentence according to law.

                                          Respectfully submitted,




                                          MEGA .FAH
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                                 CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the above pleading was this day served
upon Kim Cole, counsel of record for the defendant, and on U.S. Probation Officer, Fort
Worth, Texas in accordance with the provisions of Rule 49 of the Federal Rules of
Criminal Procedure.

       DATED this 27th day of June, 2018.


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                                          Assistant United States Atto ey




Government's Motion to Revoke
Term of Supervised Release -Page 3
